Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 1 of 18 PageID: 26

                                                                                       Court Plaza North
                                                                                        25 Main Street
                                                                                         P.O. Box 800
                                                                                  Hackensack, NJ 07602-0800
                                                                               201-489-3000 201-489-1536 fax
                                                                                               —
                                                                                           New York
                                                                                               —
 Elizabeth A. Carbone                                                                      Delaware
 Associate                                                                                     —
 Admitted in NJ and NY
                                                                                           Maryland
                                                                                               —
 Reply to New Jersey Office                                                                  Texas
 Writer’s Direct Line: 201.525.6299                                                            —
 Writer’s Direct Fax: 201.678.6299
 Writer’s E-Mail: ecarbone@coleschotz.com                                                   Florida



                                                October 8, 2021

Via CM/ECF Filing
The Honorable John Michael Vazquez, U.S.D.J.
The United States District Court for the District of New Jersey, Newark Vicinage
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, N.J. 07102

            Re:          Redi-Data, Inc. v. The Spamhaus Project a/k/a The Spamhaus Project Ltd.,
                         Civil Action No. 2:20-cv-17484-JMV-JBC

Dear Judge Vazquez:

        This firm represents plaintiff, Redi-Data, Inc. (“Plaintiff”), in the above-referenced
lawsuit. We write to respectfully provide the Court with a status update on Plaintiff’s diligent
service attempts and, in so doing, informally request that the Court’s September 30, 2021 Notice
of Call for Dismissal Pursuant to FED. R. CIV. P. 4(m) (the “Notice”) [Dkt. No. 4] be vacated.1

        As the Court is aware, this lawsuit was commenced on November 20, 2020 against
defendant, The Spamhaus Project a/k/a The Spamhaus Project Ltd. (“Defendant”), a foreign
company. See Compl. [Dkt. No. 1]. At the time the complaint was filed, Plaintiff believed, upon
information and belief, that Defendant maintained principle places of business in both the United
Kingdom and Switzerland. Compl. at ¶ 7. Accordingly, on December 17, 2020, this firm
instructed DGR Legal to attempt service of the complaint and summons in the United Kingdom
in accordance with The Hauge Service Convention Treaty. (A copy of the December 17, 2020
email request is appended hereto as Exhibit “A.”) On February 26, 2021, this firm received a
letter dated February 12, 2021 from the Royal Courts of Justice Group, Queen’s Bench Division,
Foreign Process Section advising that Defendant had dissolved its presence in the United
Kingdom. (A copy of that letter, without enclosures, is appended hereto as Exhibit “B.”)

       In response, on March 9, 2021, this firm instructed DGR Legal to attempt service in
Switzerland (which first required the documents to be served be translated to French). (A copy

1
  While Plaintiff makes this request in the context of this informal status update, Plaintiff
respectfully reserves the right to file a formal opposition to the Notice on or before the October
20, 2021 return date if this informal letter does not alleviate the Court’s concerns regarding the
progression of this action.

                                             www.coleschotz.com
28662/0002-41708607v1
Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 2 of 18 PageID: 27

Cole Schotz P.C.

The Honorable John Michael Vazquez, U.S.D.J.
October 8, 2021
Page 2

of the March 9, 2021 email request is appended hereto as Exhibit “C.”) On July 6, 2021, this
firm received a letter dated June 23, 2021 from the Court of First Instance in Geneva,
Switzerland. (A copy of the letter, with translation but without enclosures, is appended hereto as
Exhibit “D.”) In sum, the letter advised that service could not be effectuated in Switzerland and
that Defendant’s company headquarters was in Andorra. (See Ex. D at p. 3.)

        On July 26, 2021, Plaintiff instructed DGR Legal to attempt service of the complaint and
summons in Andorra and engage in any necessary translations. On October 5, 2021, Plaintiff’s
counsel was advised via email that the Andorran Central Authority had confirmed receipt of the
translated documents in the necessary processing department but that it would still take an
additional four to six weeks for service to be completed and there were no known means to
expedite the process. (A copy of the October 5, 2021 email is appended hereto as Exhibit “E.”)

        In sum, Plaintiff respectfully submits that it has been making diligent attempts to serve
the complaint and summons on Defendant and prosecute this action. Any delays in service have
been the result of the difficulties inherent in international service (especially during the
pandemic) as well as the fact Plaintiff has now had to attempt service in three different countries
with three different languages. As such, a dismissal for lack of prosecution is (respectfully) not
warranted at this time. This is particularly true given that the time limits for service set forth in
Federal Rule of Civil Procedure 4(m) do not apply to cases involving international service. See
FED. R. CIV. P. 4(m) (“This subdivision (m) does not apply to service in a foreign country under
Rule 4(f), 4(h)(2),2 or 4(j)(1), or to service of a notice under Rule 71.1(d)(3)(A).”).

        Consequently, Plaintiff respectfully requests that the Court permit continued service
attempts in this matter and vacate the Notice. If the Court has additional concerns or requires
additional information, the undersigned can be contacted at the Court’s convenience via email
(ecarbone@coleschotz.com) or phone (201-525-6299). As always, the Court’s time and
attention to this matter are greatly appreciated.


                                                  Respectfully submitted,

                                                  COLE SCHOTZ P.C.

                                                  /s/ Elizabeth A. Carbone

                                                  Elizabeth A. Carbone

cc:      All Counsel of Record Via CM/ECF




2
 Federal Rule of Civil Procedure 4(h)(2) refers to the service of a corporation, partnership, or
association outside of the jurisdiction of the United States. FED. R. CIV. P. 4(h)(2).
28662/0002-41708607v1
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                    EXHIBIT A
        Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 4 of 18 PageID: 29


Carbone, Elizabeth A

Subject:                         FW: Question re: International Service
Attachments:                     Redi - FRCP 7.1 Statement(21760683v3).PDF; Redi- Civil Cover Sheet(21760700v4).PDF;
                                 Redi - Complaint(21760685v3).PDF; Redi - Summons.pdf



From: Sermabekian, Kathleen <KSermabekian@coleschotz.com>
Sent: Thursday, December 17, 2020 9:13 AM
To: DGR International Service <service@dgrinternational.com>
Cc: Service Orders <service@dgrlegal.com>; Carbone, Elizabeth A <ECarbone@coleschotz.com>
Subject: RE: Question re: International Service

Thank you!

Can we go ahead and try for formal service in the UK? Attached are the Complaint, Summons, Civil Cover Sheet and 7.1
Statement.

Let me know if you need anything else from us!

Thanks again!




                                                          1
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                    EXHIBIT B
Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 6 of 18 PageID: 31
Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 7 of 18 PageID: 32
Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 8 of 18 PageID: 33




                    EXHIBIT C
           Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 9 of 18 PageID: 34


Carbone, Elizabeth A

Subject:                          FW: Question re: International Service

Importance:                       High




From: Sermabekian, Kathleen [mailto:KSermabekian@coleschotz.com]
Sent: Tuesday, March 09, 2021 2:07 PM
To: DGR International Service
Cc: Service Orders; Carbone, Elizabeth A
Subject: RE: Question re: International Service

DGR –

We received word back that the entity in UK is apparently dissolved. Can we go ahead and attempt service in Geneva?

Please let me know what you need from us!




Kathleen Sermabekian
Paralegal
25 Main Street | Hackensack, NJ | 07601
Direct 201.525.6297 | Firm 201.489.3000 | Fax 201.678.6297 | ksermabekian@coleschotz.com
New Jersey | New York          | Delaware | Maryland | Texas | Florida
vCard | website

Click here to visit our Covid-19 Resource Center for important legal updates.




                                                             1
Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 10 of 18 PageID: 35




                    EXHIBIT D
Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 11 of 18 PageID: 36



                 Republic and canton of Geneva                                   Geneva, June 23, 2021
                 JUDICIAIRY
                 Court of first instance



Court of first instance                                                                                                     NC/690/2021 NC NAJ
Rue de l'Athénée 6-8
P.O. Box 3736
CH-1211 GENEVA 3



                                                                                  [logo] Please Scan - Signature required
                                                                                     Delivery in exchange for signature


                                                                               JASON R. MELZER ESQ.
                                                                               Cole Schotz P.C
   Ref:        NC/690/2021 NC NAJ                                              25 Main Street court Plaza North
              To be referenced in all communications                           07601 Hackensack New Jersey
                                                                               UNITED STATES




           Your ref.: 2:20-CV-17484-JMV-JBC



           Madam, Sir,

           We inform you that the notice you sent us could not be served. We will return your file to you as an
           appendix.
           Our best regards.
                                                       For the Tribunal



                                                                                               [stamp: REPUBLIC AND CANTON OF
                                                                                                            GENEVA
                                                                                                        CIVIL TRIBUNAL]




Appendices mentioned
Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 12 of 18 PageID: 37



NC/690/2021                                                              Your ref.: 2:20-CV-17484-JMV-JBC
                                                    CERTIFICATE
The undersigned authority has the honor to certify, in conformity with Article 6 of the Convention,


□ 1. that the document has been served*
 - the (date):

 - at (place, street, number):




 - in one of the following methods authorized by Article 5:


 □      a) in accordance with the provisions of sub-paragraph a) of the first paragraph of Article 5 of the
        Convention*


 □      b) in accordance with the following particular method*:




 □      c) by delivery to the addressee, if he accepts it voluntarily*


The documents referred to in the request have been delivered to:
 Identity and description of person:


 Relationship to the addressee (family, business or
 other):


 2. that the document has not been served, by reason of the following facts*:
The company indicates that the company headquarters is in Andorra (cf. police report).


□ In conformity with the second paragraph of Article 12 of the Convention, the applicant is requested to pay or reimburse
the expenses detailed in the attached statement.*

Annexes

 Documents returned:                                        Duplicate copy of the certificate

 In appropriate cases, documents establishing the           Receipt
 service:                                                   Power of attorney
                                                            ID
                                                            Excerpt Commerce Registry


* If appropriate
 Issued in Geneva.                                          Signature and/or stamp

 on 06/23/2021


                                                                                                [stamp: REPUBLIC AND
                                                                                                 CANTON OF GENEVA
                                                                                                    CIVIL TRIBUNAL]
Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 13 of 18 PageID: 38




From our investigation, it emerges that the person concerned:
□ Has no known/fixed domicile
□ Is no longer domiciled at the address mentioned
□ Has left the jurisdiction without leaving an address, since: -
□ Was not present during our visits to his home
□ No longer has a registered/known telephone
□ No longer has contact with his family
□ Has not responded to our summons
 Other: on 06/09/2021 I made contact with the manager of the company, namely Mr. Larry SMITH.
Cantonal Police of Geneva –Versoix station, on: 06/09/2021
                                                            He indicated that there was no representative in Switzerland and that the
                                                            company headquarters was located in Andorra:
                                                            The Spamhaus Project SLU: Corporate Headquarters
  GROUPE ENQUETEURS                                         Av Princep Benlloch 26-30, Andorra la Vella, AD500, Andorra.
  Police of Blandonnet
  Chemin de Blandonnet 2
                                                            The telephone number of Mr. SMITH is 0001608208003
  1214 Vernier                                                                                        *United States)
  Landline +41 22 427 62 20
  Fax: +41 22 427 77 17
       Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 14 of 18 PageID: 39


             Republique et canton de Geneve                        Geneve, le 23 juin 2021
             POUVOIR JUDICIAIRE
nniiwttsin   Tribunal de premiere instance



                                                                                                                  NC/690/2021 NC NAJ
     Tribunal de premiere instance
     Rue de l'Ath6n6e 6-8
     Case postale 3736
     CH -1211 GENEVES
                                                                               R P371 54821 8 CH
                                                                               Please scan - Signature required
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                                                                                           signature


                                                                    JASON R.MELZER ESQ.
                                                                    Cole Schotz P.C
                                                                    25 Main Street court Plaza North
                                                                    07601 Hackensack New Jersey
                                                                    6TATS-UNIS

             R6f: NC/690/2021 N€ NAJ
                   a rappeler tors de toute communication




             V/ref.: 2:20-CV-17484-JMV-JBC


             Madame, Monsieur,
             Nous vous informons que la notification que vous nous avez adress£e n'a pas pu etre executee.

             Nous vous restituons, en annexe, votre dossier.
             Nous vous prions d'agrger, Madame, Monsieur, nos salutations distinguees.




             Annexes mentionnees
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   NC/690/2021                                                           V/ref.: 2:20-CV-17484-JMV-JBC

                                                      ATTESTATION
                                                             CERTIFICATE
                            «                                                              f


     L’autorite soussignee a Phonneur d’attester conformement a Particle 6 de ladite Convention,
     The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,

     □ 1. que la demande a ete exdcutee*
          that the document has been served*

         —le (date) / the (date):
         - a (localite, rue, numero):
           at (place, street, number);

         — dans une des formes suivantes prdvues a Particle 5:
           in one of the following methods authorised by Article 5;
        □      a) seton les formes legates (article 5, alinea premier, lettre a)*
                   in accordance with the provisions of subparagraph a) of the first paragraph of Article 5 of the
                   Convention*

        □        b)     selon la forme particuliere suivante*:
                        in accordance with the following particular method*:



        □        c)     par remise simple*
                        by delivery to the addressee, if he accepts it voluntarily*

     Les documents mentionnes dans la demande ont ete remis a :
     The documents referred to in the request have been delivered to:

      Identity et qualite de la personne:
      Identity and description of person:

      Liens de parent, de subordination ou autres,
      avec le destinataire de I’acte :
      Relationship to the addressee (family, business or
      other):

     £3 2. que la demande n’a pas ete executee, en raison des faits suivants*:
           that the document has not been served, by reason of the following facts*:

      La society indique que le sfege social se trouve d Andorra (cf. rapport de police).



     □ Conformement a Particle 12, alinea 2, de ladite Convention, le requerant est prie de payer ou de
       rembourser les frais dont le detail figure au memoire ci-joint*.
       In conformity with the second paragraph of Article 12 of the Convention, the applicant is requested to pay or
       reimburse the expenses detailed in the attached statement*.

     Annexes/Annexes

      Pieces renvoyees:                                                 Double de I’acte
      Documents returned:

      Le cas echdant, les documents justificatifs de                    RSdfeisrf
      I’exScution:                                                      Procuration
      In appropriate cases, documents establishing the                  Place droentite
      service:                                                          ExtraijFRfT'v
      * s'il y a lieu / if appropriate

      Fait a / Done at Gendve,                                          Signature et / ou cachet
                                                                        Signature and/or stamp
      le / the 23.06.2021
      Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 16 of 18 PageID: 41




  Pe noire enquete, il ressort que I’inleresse:
  QN.a plus de domicile connu/fixe
  n a eStj^S donlicili® $ I’adresse mentionnee


  gKSSSSVepuisle:
  □ N a plus de contact avec sa famille       ■rf
                                                      son domicile
                                                         .-    '■



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                     EXHIBIT E
         Case 2:20-cv-17484-JMV-JBC Document 5 Filed 10/08/21 Page 18 of 18 PageID: 43


Carbone, Elizabeth A

Subject:                                    RE: Redi-Data Service v. The Spamhaus Project [IWOV-CSDOCS.FID2275549]



From: Anthony Mboho <amboho@dgrlegal.com>
Sent: Tuesday, October 5, 2021 7:08 PM
To: Carbone, Elizabeth A <ECarbone@coleschotz.com>
Subject: RE: Redi-Data Service v. The Spamhaus Project [IWOV-CSDOCS.FID2275549]


[EXTERNAL EMAIL]


Elizabeth –
Sorry for the delayed response. The Andorran central authority has confirmed receipt in their processing department on
9/23.
It will take a minimum of 4-6 weeks to complete the service and return of the certificate of service will follow soon after.
There is no known means of expediting this service. We will follow up with them in the next couple of weeks for the
chance that they may have service attempted sooner.
I will keep you apprised of status.



Kind regards,

ANTHONY MBOHO
National/International Service Supervisor

P 973.403.1700 x218
F 973.403.9222
1359 Littleton Road | Morris Plains, NJ 07950




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